
KENNARD, J.,
Concurring and Dissenting.—I agree with the majority’s holding that Code of Civil Procedure sections 437c, subdivision (f)(2), and 1008 prohibit only a party from renewing a motion or moving for reconsideration without new facts or law, and that these provisions do not limit a court’s ability to reconsider and correct error in a prior interim order. I also agree generally with the majority’s analysis in support of that holding.
But I do not agree with the majority’s disposition reversing the Court of Appeal’s judgment, which in turn had affirmed the trial court’s summary judgment. As the majority holds, a trial court may properly reconsider an earlier ruling denying summary judgment and make a new ruling granting summary judgment. Although the trial court here erred insofar as it purported to act on a party’s motion rather than on its own motion, this procedural error does not affect the judgment’s validity. A legally correct ruling will not be reversed on appeal merely because the trial court erred in its reasoning *1110(People v. Smithey (1999) 20 Cal.4th 936, 972 [86 Cal.Rptr.2d 243, 978 P.2d 1171]; D’Amico v. Board of Medical Examiners (1974) 11 Cal.3d 1, 19 [112 Cal.Rptr. 786, 520 P.2d 10]), and a trial court’s judgment may not be set aside for procedural error unless the error has resulted in a miscarriage of justice (Cal. Const., art. VI, § 13). Because no miscarriage of justice has been demonstrated here, I would affirm.
